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lN THE UNITED STATES DISTRICT COUR'I`
FOR THE WESTERN DISTRICT OF TENNESSEE

 

WESTERN DIVISION
*
UNITED STATES OF AMERICA,
>1¢
Plaintiff,
,k
vs. No. -20422-[)
*
BRANDON WILLlAMS,
*
Defendant.
*
ORDER

 

F or good cause shown, it is hereby ORDERED that the Government's Motion to revoke the
bond of defendant BRANDON WILLIAMS is hereby granted, that this defendant’ S bond be revoked

and that this defendant be detained pending further proceedings in this Case.

DONE at MeInphis, Tennessee, this 21 day of 91 , 2005.
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ITED STATES DISTR_ICT JUDGE
APPROVED: W

Leonard E. Lucas III
Assistant U.S. Attorney

   
 

 

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with Rl\|e 55 andfor 32¢b) FRCrP on

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
case 2:04-CR-20422 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

